         Case 1:16-cv-01534-JEB Document 564 Filed 09/08/20 Page 1 of 8




                    IN THE UNITED STATES DISTRICT COURT FOR
                           THE DISTRICT OF COLUMBIA

                                                      )
STANDING ROCK SIOUX TRIBE,                            )
                                                      )
       Plaintiff,                                     )
                                                      )
and                                                   )
                                                      )
CHEYENNE RIVER SIOUX TRIBE,                           )
                                                      )
       Plaintiff-Intervenor,                          )
                                                      )
v.                                                    )       Case No. 1:16-cv-01534 (JEB)
                                                      )        (consolidated with Cases No.
UNITED STATES ARMY CORPS OF                           )      1:16-cv-01796 & 1:17-cv-00267)
ENGINEERS,                                            )
                                                      )
       Defendant,                                     )
                                                      )
and                                                   )
                                                      )
DAKOTA ACCESS, LLC,                                   )
                                                      )
       Defendant-Intervenor.                          )
                                                      )


                                   JOINT STATUS REPORT

       On August 10, this Court directed the Corps to “submit a status report by August 31,

2020, detailing the options it is considering on vacatur, steps taken by that point, and those that

remain.” Minute Order dated August 10, 2020. The Court also directed that, “[i]n the interim,

the parties shall discuss in good faith mitigation measures that could lessen the likelihood and

severity of any oil leak in or around Lake Oahe.” Id. On August 31, 2020, the Corps submitted

the status report, including an update on the status of the Court-ordered mitigation discussion.

ECF No. 562. On September 1, 2020, the Court ordered that “[g]iven the Corps’ most recent

Status Report . . . the parties shall submit a Joint Status Report by September 8, 2020, with
                                                  1
            Case 1:16-cv-01534-JEB Document 564 Filed 09/08/20 Page 2 of 8



proposals for next steps in the litigation.” Order (Sept. 1, 2020). Pursuant to the Court’s

September 1, 2020 order, the Corps and Dakota Access respectfully provide the following Status

Report. 1

    I.       Corps of Engineers’ Proposal

         The Corps respectfully submits that additional litigation in this Court is unnecessary and

inappropriate at this time. The Corps proposes that the Court should allow the Corps’ EIS and

encroachment process to proceed, allow the Parties to continue a good-faith discussion of

mitigation measures, and await the outcome of the proceedings in the Circuit Court that are now

far advanced.

         On September 4, 2020, the Corps signed and submitted to the Federal Register a notice of

intent to prepare an EIS in connection with Dakota Access’ application for an easement under

Lake Oahe for the pipeline. The Court has ruled that the Corps may not grant this application

under the Mineral Leasing Act without this very EIS. Further, as set forth in the Corps’ August

31 Status Report, ECF 562, the Corps is proceeding with its encroachment review process. As

explained, in accord with the Corps’ Real Estate Handbook, should the Corps ultimately

determine that the issuance of any new MLA easement or outgrant is appropriate, the Corps must

undertake an environmental review. ECF 562 at 6. Accordingly, the best path forward at the

present time is for the Corps to focus its energy on continuing with its encroachment process and



1 The Parties attempted to provide the Court with a single joint status report. However, the need
for review and coordination, combined with the holiday weekend, made it difficult for the Parties
to file a single joint status report. At approximately 5:00 p.m. Eastern Daylight Time on
September 8, 2020, counsel for the Corps transmitted the below proposals to counsel for
Plaintiffs. The Corps and Dakota Access understand from Plaintiffs’ emails that Plaintiffs may
modify their proposal for next steps in this litigation based on the below proposals. The Corps
and Dakota Access therefore reserve the right to file an addendum to the below proposal in the
event that Plaintiffs substantively modify their draft proposal.
                                                    2
         Case 1:16-cv-01534-JEB Document 564 Filed 09/08/20 Page 3 of 8



preparing the EIS, while continuing to confer with the Tribes, Dakota Access, and other

governmental agencies with respect to both monitoring and mitigation measures.

       As noted in the August 31 Status Report, ECF No 562 at 7-8, the Corps is complying

with this Court’s directive to engage in good-faith discussions regarding mitigation measures.

As previously reported, Dakota Access expressed a willingness to consider mitigation measures

and invited the Tribes to suggest “specific proposed mitigation measures that you believe could

further enhance DAPL’s safety.” ECF No. 562-5 at 1. Rather than propose specific mitigation

measures, however, the Tribes stated they will not discuss mitigation measures before receiving

certain information. Id. As set forth in Dakota Access’s response to the Tribes’ information

request, the Tribes already possess much of the information they now claim to need prior to

engaging in any discussion of mitigation measures. The Corps remains willing to consider the

Tribes’ request for information and any safety-enhancing mitigation measures that they believe

are warranted. The Corps submits that an appropriate next step in this litigation would be for the

Tribes to engage in the good-faith discussions regarding mitigation measures the Court ordered

on August 10. Further proceedings in this Court, including briefing on injunctive relief, are

unnecessary. See Standing Rock Sioux Tribe v. U.S. Army Corps of Eng’rs, No. 20-5197 (D.C.

Cir. Aug. 5, 2020), Doc. 1855206 at 2 (this Court should consider injunctive relief only if

necessary).

       The Corps respectfully submits that consideration of injunctive relief is not necessary at

this time, for the following reasons. First, the Court’s decision vacating the Corps’ easement and

ordering an EIS is being actively litigated in the District of Columbia Circuit, which expedited

the appeal. Order at 3, Case No. 20-5197 (D.C. Cir. Aug. 5, 2020). The Corps, Dakota Access,

and five amici filed briefs in support of the Defendants’ appeal. Plaintiffs’ response briefs are


                                                 3
          Case 1:16-cv-01534-JEB Document 564 Filed 09/08/20 Page 4 of 8



due in only one week’s time (by September 16, 2020), and the appeal will be fully briefed

shortly thereafter. Id. The likelihood that the D.C. Circuit will render its decision shortly

militates against additional District Court injunction briefing and upsetting the status quo that has

been ongoing for over three years.

        Second, that status quo—in which the pipeline has been operating has been ongoing for

over three years—presents no basis to engage in a new round of injunction proceedings absent

further direction from the Circuit Court. The Circuit Court stayed the order to empty the

Pipeline and thus maintain the status quo, but did not direct further proceedings as Plaintiffs

contend. The Circuit Court suggested that this Court may “consider additional relief,” “if

necessary,” once the Corps “clarif[ies]” whether it “intends to allow the continued operation of

the pipeline notwithstanding vacatur of the easement.” Standing Rock Sioux Tribe v. U.S. Army

Corps of Eng’rs, No. 20-5197 (D.C. Cir. Aug. 5, 2020), Doc. 1855206 at 2 (“Stay Order”). As

explained above, the Corps’ EIS process is ongoing and there is no need to proceed to further

litigation in this Court at this time.

        In the event that the Court determines that it should proceed to consider an injunction as

Plaintiffs’ request, the Corps respectfully submits that any such undertaking requires a motion

and briefing. Plaintiffs are flatly wrong to suggest that the injunction issue has already been

presented to the Court and that no further briefing is necessary. Indeed, the Circuit held that the

district court did not make the findings necessary for injunctive relief. This court established at

the August 10 status conference that the injunction factors as set forth in Monsanto Co. v.

Geertson Seed Farms, 561 U.S. 139, 158 (2010), were not fully briefed. See Transcript at 4

(Court: “But I don't think it's really fair to say that the issue the circuit remanded was ever in

front of me. No one ever argued to me that I needed to consider the Monsanto factors.”).


                                                   4
            Case 1:16-cv-01534-JEB Document 564 Filed 09/08/20 Page 5 of 8



Further, there is additional information that was not before the district court previously that is

now available, and should be considered, such as the declarations attached to the Corps Circuit

Court filings that directly address the public interest factors. Accordingly, should this Court

proceed to consider an injunction, the Corps respectfully requests that the parties be afforded

three (3) business days to propose to the Court an agreed upon (or opposed) motion and briefing

schedule.

    II.      Dakota Access’s Position

          Any further proceedings in this Court, including briefing on any motion for injunctive relief

that Plaintiffs may believe is appropriate, should not occur while the Corps’ encroachment process

continues. The D.C. Circuit directed that this Court “consider additional relief” only “if necessary”

after the Corps “clarif[ies]” whether it “intends to allow the continued operation of the pipeline

notwithstanding vacatur of the easement.” Standing Rock Sioux Tribe v. U.S. Army Corps of

Eng ’rs, No. 20-5197 (D.C. Cir. Aug. 5, 2020), Doc. 1855206 at 2 (“Stay Order”). The Corps has

not yet done so. Instead, the agency is currently evaluating its enforcement options under its

encroachment procedures. D.E. 562 at 9.

          It would be premature to move forward with the possibility of injunctive relief while that

process is underway. The Corps’ enforcement process has not produced any final agency action

that can even arguably be the subject of litigation.     See Bennett v. Spear, 520 U.S. 154, 177-78

(1997); Norton v. S. Utah Wilderness All., 542 U.S. 55, 64 (2004) (agency inaction unreviewable

when action not legally required). And the outcome of the Corps’ process is likely to influence

how the parties frame any potential injunction that might be sought, including the associated

briefing that any such motion will require. This Court thus should wait to “consider additional

relief” until the Corps reaches any decision that may properly be challenged under applicable


                                                    5
         Case 1:16-cv-01534-JEB Document 564 Filed 09/08/20 Page 6 of 8



principles of administrative law, including finality. Stay Order at 2.

       There also is no pressing need to move forward now. DAPL has been operating safely for

more than three years. The odds of a large spill ever occurring at Lake Oahe, let alone over the

next month or so, are infinitesimal. And Dakota Access has taken steps to maintain the pipeline’s

safety while the Corps weighs its enforcement options. Dakota Access has committed to the Corps

that it will “continue to comply with” the conditions of the vacated easement and “provide any

information the Corps requests” to inform its enforcement decision.       D.E. 562-4 at 3. In the

meantime the appeal will be fully briefed by September 30, with oral argument to be scheduled on

an expedited basis.

       In addition, in keeping with this Court’s instructions, Dakota Access has reached out to

Plaintiffs to discuss any “appropriate measures … that [Plaintiffs] believe will further enhance

DAPL’s safety.” D.E. 562-5 at 3. Plaintiffs responded by demanding ten sets of technical

documents (seven of which they already have and others that don’t yet exist) “prior to any

discussion of additional mitigation measures,” while at the same time taking the position that “the

only way to ensure the safety of the pipeline is to shut it down pending a full environmental

review.” D.E. 562-6 at 1-2 & App. A; see also Exhibit 1 at 1-3 (correspondence between Dakota

Access and Plaintiffs). While this suggests that Plaintiffs will remain intransigent in the face of

the process mandated by this Court’s order, and will accept no additional safety measures as

“appropriate”—even measures that their own experts recommended in the past—Dakota Access

has “reiterate[d]” to Plaintiffs “its offer to discuss any legitimate proposals for additional

mitigation measures at the Lake Oahe crossing.” Exhibit 1 at 4.

       In all events, if and when the Court decides to consider any formal request by Plaintiffs for

injunctive relief, the Court should order additional briefing on all of the injunction factors. To


                                                 6
         Case 1:16-cv-01534-JEB Document 564 Filed 09/08/20 Page 7 of 8



obtain an injunction, Plaintiffs carry the heavy burden of establishing that they have succeeded on

a claim that warrants injunctive relief; that they are likely to suffer irreparable harm absent an

injunction; and that the equities and the public interest support shutting down the pipeline pending

remand. Plaintiffs have never attempted to make those showings. They do not even mention

irreparable harm in their status report, much less explain how such harm is likely in light of the

remote chance of a large spill at Lake Oahe. Moreover, the existing record on the equitable factors

is months old and does not account for current economic circumstances that confirm the errors of

Plaintiffs’ prior predictions.   As a result, before this Court considers injunctive relief, further

briefing will be needed on all of the injunction factors.

Dated: September 8, 2020                              Respectfully submitted,

                                                      JEAN E. WILLIAMS
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                                                      United States Department of Justice
                                                      Environment & Natural Resources Division

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                                                  7
         Case 1:16-cv-01534-JEB Document 564 Filed 09/08/20 Page 8 of 8



                                                       By: /s/ William S. Scherman by /s/ Matthew
                                                       Marinelli pursuant to permission on
                                                       September 8, 2020
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                                  CERTIFICATE OF SERVICE

I, Matthew Marinelli, hereby certify that on September 8, 2020, I electronically filed the
foregoing with the Clerk of the Court using the CM/ECF system, and copies will be sent
electronically to the registered participants as identified in the Notice of Electronic Filing.


       /s/ Matthew Marinelli
       MATTHEW MARINELLI




                                                   8
